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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,

Plaintiff

3:17-CV-101
v. : (Judge Mariani}

NAVIENT CORPORATION, et al.,

Defendants.

SPECIAL MASTER ORDER #42

Now, this 23rd day of August, 2019, based upon the discussion held during a
telephonic conference conducted on August 22, 2019, IT IS HEREBY ORDERED THAT:

1. No later than August 27, 2019, Defendants shall submit a letter addressing the
question of the production of information relied upon Plaintiff's expert witness Mr.
Turner to prepare his report that was apparently obtained from the TransUnion
Company.

2. Plaintiff shall reply to Defendants’ letter no later than September 3, 2019.

3. Aconference call to address this matter shall be held on Friday, September 6,

2019 at 11:00 a.m. Unless otherwise ordered, the call shall be placed to 570-
207-5732.

s/ Thomas |. Vanaskie
THOMAS I. VANASKIE
SPECIAL MASTER

 
